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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         AUG 24 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
WILD FISH CONSERVANCY, a                        No.   23-35322
Washington non-profit corporation,
                                                D.C. No. 2:20-cv-00417-RAJ
                Plaintiff-Appellee,             Western District of Washington,
                                                Seattle
 v.
                                                ORDER
JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,

                Defendants,

ALASKA TROLLERS ASSOCIATION,

                Intervenor-Defendant,

and

STATE OF ALASKA,

                Intervenor-Defendant-
                Appellant.


WILD FISH CONSERVANCY, a                        No.   23-35323
Washington non-profit corporation,
                                                D.C. No. 2:20-cv-00417-RAJ
                Plaintiff-Appellee,

 v.

JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,


OSA111
         Case: 23-35322, 08/24/2023, ID: 12780665, DktEntry: 56, Page 2 of 4




                Defendants,

STATE OF ALASKA,

                Intervenor-Defendant,

and

ALASKA TROLLERS ASSOCIATION,

                Intervenor-Defendant-
                Appellant.


WILD FISH CONSERVANCY, a                        No.   23-35324
Washington non-profit corporation,
                                                D.C. No. 2:20-cv-00417-RAJ
                Plaintiff-Appellant,

 v.

JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,

                Defendants-Appellees,

 and


ALASKA TROLLERS ASSOCIATION;
STATE OF ALASKA,

                Intervenor-Defendants-
                Appellees.


WILD FISH CONSERVANCY, a                        No.   23-35354
Washington non-profit corporation,

OSA111                                   2                                     23-35322
           Case: 23-35322, 08/24/2023, ID: 12780665, DktEntry: 56, Page 3 of 4




                                                  D.C. No. 2:20-cv-00417-RAJ
                  Plaintiff-Appellee,

  v.

JENNIFER QUAN, in her official capacity
as Regional Administrator of the National
Marine Fisheries Service; et al.,

                  Defendants-Appellants,

and

ALASKA TROLLERS ASSOCIATION;
STATE OF ALASKA,

                  Intervenor-Defendants.

         The motion to consolidate these appeals (Docket Entry No. 54) is granted.

Appeal Nos. 23-35322, 23-35323, and 23-35354, which are cross-appeals to

No. 23-35324, are consolidated.

         The unopposed motion to extend time to file the first cross-appeal briefs

(Docket Entry No. 55) is granted. The first cross-appeal brief(s) are due

September 29, 2023. The second cross-appeal brief is due October 30, 2023. The

third cross-appeal brief(s) are due November 30, 2023. The optional cross-appeal

reply brief is due within 21 days of service of the last-served third cross-appeal

brief.

         The parties are reminded of the court’s preference for joint briefing. See,

e.g., Circuit Advisory Committee Note to Ninth Circuit Rule 32-2 (Ninth Circuit


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Rules “encourage[] separately represented parties to file a joint brief to avoid

burdening the Court with repetitive presentations of common facts and issues”).



                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT




OSA111                                    4                                    23-35322
